             Case 2:22-cv-05896-GW-AS       Document
                            ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ     3 ÝÛÒÌÎßÔ
                                                   ÝÑËÎÌô  Filed 08/19/22    Page 1 of 4 Page ID #:90
                                                                 Ü×ÍÌÎ×ÝÌ ÑÚ ÝßÔ×ÚÑÎÒ×ß
                                                                             Ý×Ê×Ô ÝÑÊÛÎ ÍØÛÛÌ
×ò ø¿÷ ÐÔß×ÒÌ×ÚÚÍ ø Ý¸»½µ ¾±¨ ·º §±« ¿®» ®»°®»-»²¬·²¹ §±«®-»´º                     ÷           ÜÛÚÛÒÜßÒÌÍ                 ø Ý¸»½µ ¾±¨ ·º §±« ¿®» ®»°®»-»²¬·²¹ §±«®-»´º                   ÷

Í¿®¿ Ñ½¸±¿                                                                                      Æ»®±± Ù®¿ª·¬§ Ù¿³»- ÔÔÝ


ø¾÷ Ý±«²¬§ ±º Î»-·¼»²½» ±º Ú·®-¬ Ô·-¬»¼ Ð´¿·²¬·ºº Ô±- ß²¹»´»- Ý±«²¬§ Ý±«²¬§ ±º Î»-·¼»²½» ±º Ú·®-¬ Ô·-¬»¼ Ü»º»²¼¿²¬                                                     Í¿²¬¿ Ý´¿®¿ Ý±«²¬§
øÛÈÝÛÐÌ ×Ò ËòÍò ÐÔß×ÒÌ×ÚÚ ÝßÍÛÍ÷                                                               ø×Ò ËòÍò ÐÔß×ÒÌ×ÚÚ ÝßÍÛÍ ÑÒÔÇ÷

ø½÷ ß¬¬±®²»§- øÚ·®³ Ò¿³»ô ß¼¼®»-- ¿²¼ Ì»´»°¸±²» Ò«³¾»®÷ ×º §±« ¿®»                             ß¬¬±®²»§- øÚ·®³ Ò¿³»ô ß¼¼®»-- ¿²¼ Ì»´»°¸±²» Ò«³¾»®÷ ×º §±« ¿®»
®»°®»-»²¬·²¹ §±«®-»´ºô °®±ª·¼» ¬¸» -¿³» ·²º±®³¿¬·±²ò                                           ®»°®»-»²¬·²¹ §±«®-»´ºô °®±ª·¼» ¬¸» -¿³» ·²º±®³¿¬·±²ò

Í»» ¿¬¬¿½¸³»²¬                                                                                  Í»» ¿¬¬¿½¸³»²¬


××ò ÞßÍ×Í ÑÚ ÖËÎ×ÍÜ×ÝÌ×ÑÒ øÐ´¿½» ¿² È ·² ±²» ¾±¨ ±²´§ò÷                                ×××ò Ý×Ì×ÆÛÒÍØ×Ð ÑÚ ÐÎ×ÒÝ×ÐßÔ ÐßÎÌ×ÛÍóÚ±® Ü·ª»®-·¬§ Ý¿-»- Ñ²´§
                                                                                            øÐ´¿½» ¿² È ·² ±²» ¾±¨ º±® °´¿·²¬·ºº ¿²¼ ±²» º±® ¼»º»²¼¿²¬÷
                                                                                                                    ÐÌÚ         ÜÛÚ                                            ÐÌÚ           ÜÛÚ
    ïò ËòÍò Ù±ª»®²³»²¬                  íò Ú»¼»®¿´ Ï«»-¬·±² øËòÍò                                                         ï           ï   ×²½±®°±®¿¬»¼ ±® Ð®·²½·°¿´ Ð´¿½»            ì             ì
                                                                                       Ý·¬·¦»² ±º Ì¸·- Í¬¿¬»
    Ð´¿·²¬·ºº                           Ù±ª»®²³»²¬ Ò±¬ ¿ Ð¿®¬§÷                                                                           ±º Þ«-·²»-- ·² ¬¸·- Í¬¿¬»
                                                                                       Ý·¬·¦»² ±º ß²±¬¸»® Í¬¿¬»           î           î   ×²½±®°±®¿¬»¼ ¿²¼ Ð®·²½·°¿´ Ð´¿½»           ë             ë
                                                                                                                                          ±º Þ«-·²»-- ·² ß²±¬¸»® Í¬¿¬»
    îò ËòÍò Ù±ª»®²³»²¬                  ìò Ü·ª»®-·¬§ ø×²¼·½¿¬» Ý·¬·¦»²-¸·°             Ý·¬·¦»² ±® Í«¾¶»½¬ ±º ¿
                                                                                       Ú±®»·¹² Ý±«²¬®§                    í           í Ú±®»·¹² Ò¿¬·±²                               ê             ê
    Ü»º»²¼¿²¬                           ±º Ð¿®¬·»- ·² ×¬»³ ×××÷

×Êò ÑÎ×Ù×Ò øÐ´¿½» ¿² È ·² ±²» ¾±¨ ±²´§ò÷
                                                                                                                                                  êò Ó«´¬·¼·-¬®·½¬        èò Ó«´¬·¼·-¬®·½¬
     ïò Ñ®·¹·²¿´        îò Î»³±ª»¼ º®±³            íò Î»³¿²¼»¼ º®±³          ìò Î»·²-¬¿¬»¼ ±®            ëò Ì®¿²-º»®®»¼ º®±³ ß²±¬¸»®                 Ô·¬·¹¿¬·±² ó            Ô·¬·¹¿¬·±² ó
        Ð®±½»»¼·²¹         Í¬¿¬» Ý±«®¬                ß°°»´´¿¬» Ý±«®¬           Î»±°»²»¼                    Ü·-¬®·½¬ øÍ°»½·º§÷                       Ì®¿²-º»®                Ü·®»½¬ Ú·´»


Êò ÎÛÏËÛÍÌÛÜ ×Ò ÝÑÓÐÔß×ÒÌæ ÖËÎÇ ÜÛÓßÒÜæ                                   Ç»-             Ò±      øÝ¸»½µ þÇ»-þ ±²´§ ·º ¼»³¿²¼»¼ ·² ½±³°´¿·²¬ò÷
ÝÔßÍÍ ßÝÌ×ÑÒ «²¼»® ÚòÎòÝªòÐò îíæ                        Ç»-         Ò±                           ÓÑÒÛÇ ÜÛÓßÒÜÛÜ ×Ò ÝÑÓÐÔß×ÒÌæ ü
Ê×ò ÝßËÍÛ ÑÚ ßÝÌ×ÑÒ øÝ·¬» ¬¸» ËòÍò Ý·ª·´ Í¬¿¬«¬» «²¼»® ©¸·½¸ §±« ¿®» º·´·²¹ ¿²¼ ©®·¬» ¿ ¾®·»º -¬¿¬»³»²¬ ±º ½¿«-»ò Ü± ²±¬ ½·¬» ¶«®·-¼·½¬·±²¿´ -¬¿¬«¬»- «²´»-- ¼·ª»®-·¬§ò÷
îè ËòÍòÝò yy ïííîø¼÷øî÷ô ïììïô ïììêô ïìëí øÐ´¿·²¬·ºº ¿--»®¬»¼ -¬¿¬«¬±®§ ¿²¼ ½±³³±² ´¿© ½´¿·³- ·² -¬¿¬» ½±«®¬å Ü»º»²¼¿²¬ ®»³±ª»- °«®-«¿²¬ ¬± ÝßÚß÷ò

Ê××ò ÒßÌËÎÛ ÑÚ ÍË×Ì øÐ´¿½» ¿² È ·² ±²» ¾±¨ ±²´§÷ò
     ÑÌØÛÎ ÍÌßÌËÌÛÍ                  ÝÑÒÌÎßÝÌ            ÎÛßÔ ÐÎÑÐÛÎÌÇ ÝÑÒÌò                   ×ÓÓ×ÙÎßÌ×ÑÒ                    ÐÎ×ÍÑÒÛÎ ÐÛÌ×Ì×ÑÒÍ                     ÐÎÑÐÛÎÌÇ Î×ÙØÌÍ
    íéë Ú¿´-» Ý´¿·³- ß½¬           ïïð ×²-«®¿²½»               îìð Ì±®¬- ¬± Ô¿²¼               ìêî Ò¿¬«®¿´·¦¿¬·±²               Ø¿¾»¿- Ý±®°«-æ                  èîð Ý±°§®·¹¸¬-
                                                                                               ß°°´·½¿¬·±²                     ìêí ß´·»² Ü»¬¿·²»»
    íéê Ï«· Ì¿³                    ïîð Ó¿®·²»                  îìë Ì±®¬ Ð®±¼«½¬                                                                                 èíð Ð¿¬»²¬
    øíï ËÍÝ íéîçø¿÷÷                                           Ô·¿¾·´·¬§                     ìêë Ñ¬¸»®                         ëïð Ó±¬·±²- ¬± Ê¿½¿¬»
                                   ïíð Ó·´´»® ß½¬              îçð ß´´ Ñ¬¸»® Î»¿´            ×³³·¹®¿¬·±² ß½¬·±²-               Í»²¬»²½»                         èíë Ð¿¬»²¬ ó ß¾¾®»ª·¿¬»¼
    ìðð Í¬¿¬»                                                                                                                  ëíð Ù»²»®¿´                      Ò»© Ü®«¹ ß°°´·½¿¬·±²
    Î»¿°°±®¬·±²³»²¬                                            Ð®±°»®¬§                          ÌÑÎÌÍ
                                   ïìð Ò»¹±¬·¿¾´»                                                                              ëíë Ü»¿¬¸ Ð»²¿´¬§
    ìïð ß²¬·¬®«-¬                  ×²-¬®«³»²¬                       ÌÑÎÌÍ                  ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ                                                    èìð Ì®¿¼»³¿®µ
                                   ïëð Î»½±ª»®§ ±º            ÐÛÎÍÑÒßÔ ×ÒÖËÎÇ                                                      Ñ¬¸»®æ                       èèð Ü»º»²¼ Ì®¿¼» Í»½®»¬- ß½¬
    ìíð Þ¿²µ- ¿²¼ Þ¿²µ·²¹                                                                    íéð Ñ¬¸»® Ú®¿«¼
                                   Ñª»®°¿§³»²¬ ú               íïð ß·®°´¿²»                                                    ëìð Ó¿²¼¿³«-ñÑ¬¸»®               ±º îðïê øÜÌÍß÷
    ìëð Ý±³³»®½»ñ×ÝÝ               Û²º±®½»³»²¬ ±º                                              íéï Ì®«¬¸ ·² Ô»²¼·²¹
                                                               íïë ß·®°´¿²»                                                                                          ÍÑÝ×ßÔ ÍÛÝËÎ×ÌÇ
    Î¿¬»-ñÛ¬½ò                     Ö«¼¹³»²¬                    Ð®±¼«½¬ Ô·¿¾·´·¬§                                               ëëð Ý·ª·´ Î·¹¸¬-
    ìêð Ü»°±®¬¿¬·±²                                                                            íèð Ñ¬¸»® Ð»®-±²¿´
                                    ïëï Ó»¼·½¿®» ß½¬           íîð ß--¿«´¬ô Ô·¾»´ ú            Ð®±°»®¬§ Ü¿³¿¹»                 ëëë Ð®·-±² Ý±²¼·¬·±²             èêï Ø×ß øïíçëºº÷
    ìéð Î¿½µ»¬»»® ×²º´«ó                                       Í´¿²¼»®
    »²½»¼ ú Ý±®®«°¬ Ñ®¹ò            ïëî Î»½±ª»®§ ±º                                            íèë Ð®±°»®¬§ Ü¿³¿¹»                                              èêî Þ´¿½µ Ô«²¹ øçîí÷
                                                               ííð Ú»¼ò Û³°´±§»®-ù                                          ëêð Ý·ª·´ Ü»¬¿·²»»
                                    Ü»º¿«´¬»¼ Í¬«¼»²¬                                          Ð®±¼«½¬ Ô·¿¾·´·¬§            Ý±²¼·¬·±²- ±º
    ìèð Ý±²-«³»® Ý®»¼·¬                                        Ô·¿¾·´·¬§                                                                                        èêí Ü×ÉÝñÜ×ÉÉ øìðë ø¹÷÷
                                    Ô±¿² øÛ¨½´ò Ê»¬ò÷                                           ÞßÒÕÎËÐÌÝÇ                  Ý±²º·²»³»²¬
    ìèë Ì»´»°¸±²»                                              íìð Ó¿®·²»                                                                                       èêì ÍÍ×Ü Ì·¬´» ÈÊ×
    Ý±²-«³»® Ð®±¬»½¬·±² ß½¬        ïëí Î»½±ª»®§ ±º                                             ìîî ß°°»¿´ îè              ÚÑÎÚÛ×ÌËÎÛñÐÛÒßÔÌÇ
                                                               íìë Ó¿®·²» Ð®±¼«½¬              ËÍÝ ïëè
    ìçð Ý¿¾´»ñÍ¿¬ ÌÊ               Ñª»®°¿§³»²¬ ±º              Ô·¿¾·´·¬§                                                   êîë Ü®«¹ Î»´¿¬»¼                     èêë ÎÍ× øìðë ø¹÷÷
                                   Ê»¬ò Þ»²»º·¬-                                               ìîí É·¬¸¼®¿©¿´ îè           Í»·¦«®» ±º Ð®±°»®¬§ îï
    èëð Í»½«®·¬·»-ñÝ±³ó                                        íëð Ó±¬±® Ê»¸·½´»               ËÍÝ ïëé                     ËÍÝ èèï                                   ÚÛÜÛÎßÔ ÌßÈ ÍË×ÌÍ
    ³±¼·¬·»-ñÛ¨½¸¿²¹»              ïêð Í¬±½µ¸±´¼»®-ù
                                   Í«·¬-                       íëë Ó±¬±® Ê»¸·½´»                Ý×Ê×Ô Î×ÙØÌÍ                êçð Ñ¬¸»®                           èéð Ì¿¨»- øËòÍò Ð´¿·²¬·ºº ±®
    èçð Ñ¬¸»® Í¬¿¬«¬±®§                                        Ð®±¼«½¬ Ô·¿¾·´·¬§                                                                                Ü»º»²¼¿²¬÷
    ß½¬·±²-                         ïçð Ñ¬¸»®                                                  ììð Ñ¬¸»® Ý·ª·´ Î·¹¸¬-                 ÔßÞÑÎ
                                                               íêð Ñ¬¸»® Ð»®-±²¿´                                                                               èéï ×ÎÍóÌ¸·®¼ Ð¿®¬§ îê ËÍÝ
    èçï ß¹®·½«´¬«®¿´ ß½¬-           Ý±²¬®¿½¬                   ×²¶«®§                          ììï Ê±¬·²¹                      éïð Ú¿·® Ô¿¾±® Í¬¿²¼¿®¼-         éêðç
                                                                                                                               ß½¬
    èçí Û²ª·®±²³»²¬¿´              ïçë Ý±²¬®¿½¬                íêî Ð»®-±²¿´ ×²¶«®§ó
                                   Ð®±¼«½¬ Ô·¿¾·´·¬§           Ó»¼ Ó¿´°®¿¬·½»                  ììî Û³°´±§³»²¬                  éîð Ô¿¾±®ñÓ¹³¬ò
    Ó¿¬¬»®-                                                                                    ììí Ø±«-·²¹ñ                    Î»´¿¬·±²-
    èçë Ú®»»¼±³ ±º ×²º±ò           ïçê Ú®¿²½¸·-»               íêë Ð»®-±²¿´ ×²¶«®§ó
                                                               Ð®±¼«½¬ Ô·¿¾·´·¬§               ß½½±³³±¼¿¬·±²-
    ß½¬                                                                                                                        éìð Î¿·´©¿§ Ô¿¾±® ß½¬
                                   ÎÛßÔ ÐÎÑÐÛÎÌÇ                                               ììë ß³»®·½¿² ©·¬¸
    èçê ß®¾·¬®¿¬·±²                                            íêé Ø»¿´¬¸ Ý¿®»ñ                                                éëï Ú¿³·´§ ¿²¼ Ó»¼·½¿´
                                   îïð Ô¿²¼                    Ð¸¿®³¿½»«¬·½¿´                  Ü·-¿¾·´·¬·»-ó
    èçç ß¼³·²ò Ð®±½»¼«®»-                                                                      Û³°´±§³»²¬                      Ô»¿ª» ß½¬
                                   Ý±²¼»³²¿¬·±²                Ð»®-±²¿´ ×²¶«®§
    ß½¬ñÎ»ª·»© ±º ß°°»¿´ ±º                                    Ð®±¼«½¬ Ô·¿¾·´·¬§               ììê ß³»®·½¿² ©·¬¸               éçð Ñ¬¸»® Ô¿¾±®
                                   îîð Ú±®»½´±-«®»                                                                             Ô·¬·¹¿¬·±²
    ß¹»²½§ Ü»½·-·±²                                            íêè ß-¾»-¬±-                    Ü·-¿¾·´·¬·»-óÑ¬¸»®
    çëð Ý±²-¬·¬«¬·±²¿´·¬§ ±º       îíð Î»²¬ Ô»¿-» ú            Ð»®-±²¿´ ×²¶«®§                                                 éçï Û³°´±§»» Î»¬ò ×²½ò
    Í¬¿¬» Í¬¿¬«¬»-                                                                             ììè Û¼«½¿¬·±²                   Í»½«®·¬§ ß½¬
                                   Û¶»½¬³»²¬                   Ð®±¼«½¬ Ô·¿¾·´·¬§

ÚÑÎ ÑÚÚ×ÝÛ ËÍÛ ÑÒÔÇæ                     Ý¿-» Ò«³¾»®æ
ÝÊóéï øïðñîð÷                                                                   Ý×Ê×Ô ÝÑÊÛÎ ÍØÛÛÌ                                                                            Ð¿¹» ï ±º í
              Case 2:22-cv-05896-GW-AS       Document
                             ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ     3 ÝÛÒÌÎßÔ
                                                    ÝÑËÎÌô  Filed 08/19/22    Page 2 of 4 Page ID #:91
                                                                  Ü×ÍÌÎ×ÝÌ ÑÚ ÝßÔ×ÚÑÎÒ×ß
                                                                                 Ý×Ê×Ô ÝÑÊÛÎ ÍØÛÛÌ

Ê×××ò ÊÛÒËÛæ Ç±«® ¿²-©»®- ¬± ¬¸» ¯«»-¬·±²- ¾»´±© ©·´´ ¼»¬»®³·²» ¬¸» ¼·ª·-·±² ±º ¬¸» Ý±«®¬ ¬± ©¸·½¸ ¬¸·- ½¿-» ©·´´ ¾» ·²·¬·¿´´§ ¿--·¹²»¼ò Ì¸·- ·²·¬·¿´ ¿--·¹²³»²¬ ·- -«¾¶»½¬
¬± ½¸¿²¹»ô ·² ¿½½±®¼¿²½» ©·¬¸ ¬¸» Ý±«®¬ù- Ù»²»®¿´ Ñ®¼»®-ô «°±² ®»ª·»© ¾§ ¬¸» Ý±«®¬ ±º §±«® Ý±³°´¿·²¬ ±® Ò±¬·½» ±º Î»³±ª¿´ò
ÏËÛÍÌ×ÑÒ ßæ É¿- ¬¸·- ½¿-» ®»³±ª»¼
º®±³ -¬¿¬» ½±«®¬á                                                   ÍÌßÌÛ ÝßÍÛ ÉßÍ ÐÛÒÜ×ÒÙ ×Ò ÌØÛ ÝÑËÒÌÇ ÑÚæ                                     ×Ò×Ì×ßÔ Ü×Ê×Í×ÑÒ ×Ò ÝßÝÜ ×Íæ
                    Ç»-         Ò±
                                                         Ô±- ß²¹»´»-ô Ê»²¬«®¿ô Í¿²¬¿ Þ¿®¾¿®¿ô ±® Í¿² Ô«·- Ñ¾·-°±                                            É»-¬»®²
×º þ²±ô þ -µ·° ¬± Ï«»-¬·±² Þò ×º þ§»-ôþ ½¸»½µ ¬¸»
¾±¨ ¬± ¬¸» ®·¹¸¬ ¬¸¿¬ ¿°°´·»-ô »²¬»® ¬¸»                 Ñ®¿²¹»                                                                                             Í±«¬¸»®²
½±®®»-°±²¼·²¹ ¼·ª·-·±² ·² ®»-°±²-» ¬±
Ï«»-¬·±² Ûô ¾»´±©ô ¿²¼ ½±²¬·²«» º®±³ ¬¸»®»ò              Î·ª»®-·¼» ±® Í¿² Þ»®²¿®¼·²±                                                                         Û¿-¬»®²



ÏËÛÍÌ×ÑÒ Þæ ×- ¬¸» Ë²·¬»¼ Í¬¿¬»-ô ±® Þòïò Ü± ëðû ±® ³±®» ±º ¬¸» ¼»º»²¼¿²¬- ©¸± ®»-·¼» ·²                             ÇÛÍò Ç±«® ½¿-» ©·´´ ·²·¬·¿´´§ ¾» ¿--·¹²»¼ ¬± ¬¸» Í±«¬¸»®² Ü·ª·-·±²ò
±²» ±º ·¬- ¿¹»²½·»- ±® »³°´±§»»-ô ¿  ¬¸» ¼·-¬®·½¬ ®»-·¼» ·² Ñ®¿²¹» Ý±òá                                              Û²¬»® þÍ±«¬¸»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ô ¿²¼ ½±²¬·²«»
ÐÔß×ÒÌ×ÚÚ ·² ¬¸·- ¿½¬·±²á                                                                                            º®±³ ¬¸»®»ò
                                                    ½¸»½µ ±²» ±º ¬¸» ¾±¨»- ¬± ¬¸» ®·¹¸¬
                    Ç»-         Ò±
                                                                                                                     ÒÑò Ý±²¬·²«» ¬± Ï«»-¬·±² Þòîò

                                                    Þòîò Ü± ëðû ±® ³±®» ±º ¬¸» ¼»º»²¼¿²¬- ©¸± ®»-·¼» ·²              ÇÛÍò Ç±«® ½¿-» ©·´´ ·²·¬·¿´´§ ¾» ¿--·¹²»¼ ¬± ¬¸» Û¿-¬»®² Ü·ª·-·±²ò
×º þ²±ô þ -µ·° ¬± Ï«»-¬·±² Ýò ×º þ§»-ôþ ¿²-©»®      ¬¸» ¼·-¬®·½¬ ®»-·¼» ·² Î·ª»®-·¼» ¿²¼ñ±® Í¿² Þ»®²¿®¼·²±           Û²¬»® þÛ¿-¬»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ô ¿²¼ ½±²¬·²«»
Ï«»-¬·±² Þòïô ¿¬ ®·¹¸¬ò                             Ý±«²¬·»-á øÝ±²-·¼»® ¬¸» ¬©± ½±«²¬·»- ¬±¹»¬¸»®ò÷                  º®±³ ¬¸»®»ò

                                                    ½¸»½µ ±²» ±º ¬¸» ¾±¨»- ¬± ¬¸» ®·¹¸¬                              ÒÑò Ç±«® ½¿-» ©·´´ ·²·¬·¿´´§ ¾» ¿--·¹²»¼ ¬± ¬¸» É»-¬»®² Ü·ª·-·±²ò
                                                                                                                     Û²¬»® þÉ»-¬»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ô ¿²¼ ½±²¬·²«»
                                                                                                                     º®±³ ¬¸»®»ò

ÏËÛÍÌ×ÑÒ Ýæ ×- ¬¸» Ë²·¬»¼ Í¬¿¬»-ô ±® Ýòïò Ü± ëðû ±® ³±®» ±º ¬¸» °´¿·²¬·ºº- ©¸± ®»-·¼» ·² ¬¸»                         ÇÛÍò Ç±«® ½¿-» ©·´´ ·²·¬·¿´´§ ¾» ¿--·¹²»¼ ¬± ¬¸» Í±«¬¸»®² Ü·ª·-·±²ò
±²» ±º ·¬- ¿¹»²½·»- ±® »³°´±§»»-ô ¿  ¼·-¬®·½¬ ®»-·¼» ·² Ñ®¿²¹» Ý±òá                                                  Û²¬»® þÍ±«¬¸»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ô ¿²¼ ½±²¬·²«»
ÜÛÚÛÒÜßÒÌ ·² ¬¸·- ¿½¬·±²á                                                                                            º®±³ ¬¸»®»ò
                                                    ½¸»½µ ±²» ±º ¬¸» ¾±¨»- ¬± ¬¸» ®·¹¸¬
                    Ç»-         Ò±
                                                                                                                     ÒÑò Ý±²¬·²«» ¬± Ï«»-¬·±² Ýòîò

                                                    Ýòîò Ü± ëðû ±® ³±®» ±º ¬¸» °´¿·²¬·ºº- ©¸± ®»-·¼» ·² ¬¸»          ÇÛÍò Ç±«® ½¿-» ©·´´ ·²·¬·¿´´§ ¾» ¿--·¹²»¼ ¬± ¬¸» Û¿-¬»®² Ü·ª·-·±²ò
×º þ²±ô þ -µ·° ¬± Ï«»-¬·±² Üò ×º þ§»-ôþ ¿²-©»®      ¼·-¬®·½¬ ®»-·¼» ·² Î·ª»®-·¼» ¿²¼ñ±® Í¿² Þ»®²¿®¼·²±               Û²¬»® þÛ¿-¬»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ô ¿²¼ ½±²¬·²«»
Ï«»-¬·±² Ýòïô ¿¬ ®·¹¸¬ò                             Ý±«²¬·»-á øÝ±²-·¼»® ¬¸» ¬©± ½±«²¬·»- ¬±¹»¬¸»®ò÷                  º®±³ ¬¸»®»ò

                                                    ½¸»½µ ±²» ±º ¬¸» ¾±¨»- ¬± ¬¸» ®·¹¸¬                              ÒÑò Ç±«® ½¿-» ©·´´ ·²·¬·¿´´§ ¾» ¿--·¹²»¼ ¬± ¬¸» É»-¬»®² Ü·ª·-·±²ò
                                                                                                                     Û²¬»® þÉ»-¬»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ô ¿²¼ ½±²¬·²«»
                                                                                                                     º®±³ ¬¸»®»ò
                                                                                                                ßò                         Þò                             Ýò
                                                                                                                                    Î·ª»®-·¼» ±® Í¿²            Ô±- ß²¹»´»-ô Ê»²¬«®¿ô
ÏËÛÍÌ×ÑÒ Üæ Ô±½¿¬·±² ±º °´¿·²¬·ºº- ¿²¼ ¼»º»²¼¿²¬-á                                                    Ñ®¿²¹» Ý±«²¬§                Þ»®²¿®¼·²± Ý±«²¬§            Í¿²¬¿ Þ¿®¾¿®¿ô ±® Í¿²
                                                                                                                                                                 Ô«·- Ñ¾·-°± Ý±«²¬§
×²¼·½¿¬» ¬¸» ´±½¿¬·±²ø-÷ ·² ©¸·½¸ ëðû ±® ³±®» ±º °´¿·²¬·ºº- ©¸± ®»-·¼» ·² ¬¸·- ¼·-¬®·½¬
®»-·¼»ò øÝ¸»½µ «° ¬± ¬©± ¾±¨»-ô ±® ´»¿ª» ¾´¿²µ ·º ²±²» ±º ¬¸»-» ½¸±·½»- ¿°°´§ò÷
×²¼·½¿¬» ¬¸» ´±½¿¬·±²ø-÷ ·² ©¸·½¸ ëðû ±® ³±®» ±º ¼»º»²¼¿²¬- ©¸± ®»-·¼» ·² ¬¸·-
¼·-¬®·½¬ ®»-·¼»ò øÝ¸»½µ «° ¬± ¬©± ¾±¨»-ô ±® ´»¿ª» ¾´¿²µ ·º ²±²» ±º ¬¸»-» ½¸±·½»-
¿°°´§ò÷

                Üòïò ×- ¬¸»®» ¿¬ ´»¿-¬ ±²» ¿²-©»® ·² Ý±´«³² ßá                                                 Üòîò ×- ¬¸»®» ¿¬ ´»¿-¬ ±²» ¿²-©»® ·² Ý±´«³² Þá
                                        Ç»-              Ò±                                                                           Ç»-            Ò±
                    ×º þ§»-ôþ §±«® ½¿-» ©·´´ ·²·¬·¿´´§ ¾» ¿--·¹²»¼ ¬± ¬¸»                                         ×º þ§»-ôþ §±«® ½¿-» ©·´´ ·²·¬·¿´´§ ¾» ¿--·¹²»¼ ¬± ¬¸»
                                 ÍÑËÌØÛÎÒ Ü×Ê×Í×ÑÒò                                                                             ÛßÍÌÛÎÒ Ü×Ê×Í×ÑÒò
     Û²¬»® þÍ±«¬¸»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ô ¿²¼ ½±²¬·²«» º®±³ ¬¸»®»ò                                  Û²¬»® þÛ¿-¬»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ò
                          ×º þ²±ôþ ¹± ¬± ¯«»-¬·±² Üî ¬± ¬¸» ®·¹¸¬ò                                           ×º þ²±ôþ §±«® ½¿-» ©·´´ ¾» ¿--·¹²»¼ ¬± ¬¸» ÉÛÍÌÛÎÒ Ü×Ê×Í×ÑÒò
                                                                                                                 Û²¬»® þÉ»-¬»®²þ ·² ®»-°±²-» ¬± Ï«»-¬·±² Ûô ¾»´±©ò


ÏËÛÍÌ×ÑÒ Ûæ ×²·¬·¿´ Ü·ª·-·±²á                                                                                               ×Ò×Ì×ßÔ Ü×Ê×Í×ÑÒ ×Ò ÝßÝÜ

Û²¬»® ¬¸» ·²·¬·¿´ ¼·ª·-·±² ¼»¬»®³·²»¼ ¾§ Ï«»-¬·±² ßô Þô Ýô ±® Ü ¿¾±ª»æ                                                                ÉÛÍÌÛÎÒ

ÏËÛÍÌ×ÑÒ Úæ Ò±®¬¸»®² Ý±«²¬·»-á
Ü± ëðû ±® ³±®» ±º °´¿·²¬·ºº- ±® ¼»º»²¼¿²¬- ·² ¬¸·- ¼·-¬®·½¬ ®»-·¼» ·² Ê»²¬«®¿ô Í¿²¬¿ Þ¿®¾¿®¿ô ±® Í¿² Ô«·- Ñ¾·-°± ½±«²¬·»-á                                    Ç»-           Ò±
 ÝÊóéï øïðñîð÷                                                                     Ý×Ê×Ô ÝÑÊÛÎ ÍØÛÛÌ                                                                   Ð¿¹» î ±º í
              Case 2:22-cv-05896-GW-AS       Document
                             ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ     3 ÝÛÒÌÎßÔ
                                                    ÝÑËÎÌô  Filed 08/19/22    Page 3 of 4 Page ID #:92
                                                                  Ü×ÍÌÎ×ÝÌ ÑÚ ÝßÔ×ÚÑÎÒ×ß
                                                                             Ý×Ê×Ô ÝÑÊÛÎ ÍØÛÛÌ

×Èø¿÷ò ×ÜÛÒÌ×ÝßÔ ÝßÍÛÍæ Ø¿- ¬¸·- ¿½¬·±² ¾»»² °®»ª·±«-´§ º·´»¼ ·² ¬¸·- ½±«®¬á                                                                         ÒÑ                  ÇÛÍ

        ×º §»-ô ´·-¬ ½¿-» ²«³¾»®ø-÷æ

×Èø¾÷ò ÎÛÔßÌÛÜ ÝßÍÛÍæ ×- ¬¸·- ½¿-» ®»´¿¬»¼ ø¿- ¼»º·²»¼ ¾»´±©÷ ¬± ¿²§ ½·ª·´ ±® ½®·³·²¿´ ½¿-»ø-÷ °®»ª·±«-´§ º·´»¼ ·² ¬¸·- ½±«®¬á
                                                                                                                                                     ÒÑ                  ÇÛÍ
        ×º §»-ô ´·-¬ ½¿-» ²«³¾»®ø-÷æ     îæîîó½ªóðíçëçóÙÉóßÍ


        Ý·ª·´ ½¿-»- ¿®» ®»´¿¬»¼ ©¸»² ¬¸»§ ø½¸»½µ ¿´´ ¬¸¿¬ ¿°°´§÷æ

                    ßò ß®·-» º®±³ ¬¸» -¿³» ±® ¿ ½´±-»´§ ®»´¿¬»¼ ¬®¿²-¿½¬·±²ô ¸¿°°»²·²¹ô ±® »ª»²¬å

                    Þò Ý¿´´ º±® ¼»¬»®³·²¿¬·±² ±º ¬¸» -¿³» ±® -«¾-¬¿²¬·¿´´§ ®»´¿¬»¼ ±® -·³·´¿® ¯«»-¬·±²- ±º ´¿© ¿²¼ º¿½¬å ±®

                    Ýò Ú±® ±¬¸»® ®»¿-±²- ©±«´¼ »²¬¿·´ -«¾-¬¿²¬·¿´ ¼«°´·½¿¬·±² ±º ´¿¾±® ·º ¸»¿®¼ ¾§ ¼·ºº»®»²¬ ¶«¼¹»-ò

        Ò±¬»æ Ì¸¿¬ ½¿-»- ³¿§ ·²ª±´ª» ¬¸» -¿³» °¿¬»²¬ô ¬®¿¼»³¿®µô ±® ½±°§®·¹¸¬ ·- ²±¬ô ·² ·¬-»´ºô -«ºº·½·»²¬ ¬± ¼»»³ ½¿-»- ®»´¿¬»¼ò



        ß ½·ª·´ º±®º»·¬«®» ½¿-» ¿²¼ ¿ ½®·³·²¿´ ½¿-» ¿®» ®»´¿¬»¼ ©¸»² ¬¸»§ ø½¸»½µ ¿´´ ¬¸¿¬ ¿°°´§÷æ

                    ßò ß®·-» º®±³ ¬¸» -¿³» ±® ¿ ½´±-»´§ ®»´¿¬»¼ ¬®¿²-¿½¬·±²ô ¸¿°°»²·²¹ô ±® »ª»²¬å

                    Þò Ý¿´´ º±® ¼»¬»®³·²¿¬·±² ±º ¬¸» -¿³» ±® -«¾-¬¿²¬·¿´´§ ®»´¿¬»¼ ±® -·³·´¿® ¯«»-¬·±²- ±º ´¿© ¿²¼ º¿½¬å ±®
                    Ýò ×²ª±´ª» ±²» ±® ³±®» ¼»º»²¼¿²¬- º®±³ ¬¸» ½®·³·²¿´ ½¿-» ·² ½±³³±² ¿²¼ ©±«´¼ »²¬¿·´ -«¾-¬¿²¬·¿´ ¼«°´·½¿¬·±² ±º
                    ´¿¾±® ·º ¸»¿®¼ ¾§ ¼·ºº»®»²¬ ¶«¼¹»-ò


Èò Í×ÙÒßÌËÎÛ ÑÚ ßÌÌÑÎÒÛÇ
øÑÎ ÍÛÔÚóÎÛÐÎÛÍÛÒÌÛÜ Ô×Ì×ÙßÒÌ÷æ ñ-ñ Ó·½¸¿»´ Þ»®¬¿                                                                                   ÜßÌÛæ ðèñïçñîðîî

Ò±¬·½» ¬± Ý±«²-»´ñÐ¿®¬·»-æ Ì¸» -«¾³·--·±² ±º ¬¸·- Ý·ª·´ Ý±ª»® Í¸»»¬ ·- ®»¯«·®»¼ ¾§ Ô±½¿´ Î«´» íóïò Ì¸·- Ú±®³ ÝÊóéï ¿²¼ ¬¸» ·²º±®³¿¬·±² ½±²¬¿·²»¼ ¸»®»·²
²»·¬¸»® ®»°´¿½»- ²±® -«°°´»³»²¬- ¬¸» º·´·²¹ ¿²¼ -»®ª·½» ±º °´»¿¼·²¹- ±® ±¬¸»® °¿°»®- ¿- ®»¯«·®»¼ ¾§ ´¿©ô »¨½»°¬ ¿- °®±ª·¼»¼ ¾§ ´±½¿´ ®«´»- ±º ½±«®¬ò Ú±®
³±®» ¼»¬¿·´»¼ ·²-¬®«½¬·±²-ô -»» -»°¿®¿¬» ·²-¬®«½¬·±² -¸»»¬ øÝÊóðéïß÷ò




Õ»§ ¬± Í¬¿¬·-¬·½¿´ ½±¼»- ®»´¿¬·²¹ ¬± Í±½·¿´ Í»½«®·¬§ Ý¿-»-æ

     Ò¿¬«®» ±º Í«·¬ Ý±¼»       ß¾¾®»ª·¿¬·±²                    Í«¾-¬¿²¬·ª» Í¬¿¬»³»²¬ ±º Ý¿«-» ±º ß½¬·±²
                                                   ß´´ ½´¿·³- º±® ¸»¿´¬¸ ·²-«®¿²½» ¾»²»º·¬- øÓ»¼·½¿®»÷ «²¼»® Ì·¬´» ïèô Ð¿®¬ ßô ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ô ¿- ¿³»²¼»¼ò ß´-±ô
        èêï                       Ø×ß              ·²½´«¼» ½´¿·³- ¾§ ¸±-°·¬¿´-ô -µ·´´»¼ ²«®-·²¹ º¿½·´·¬·»-ô »¬½òô º±® ½»®¬·º·½¿¬·±² ¿- °®±ª·¼»®- ±º -»®ª·½»- «²¼»® ¬¸» °®±¹®¿³ò
                                                   øìî ËòÍòÝò ïçíëÚÚø¾÷÷

        èêî                       ÞÔ               ß´´ ½´¿·³- º±® þÞ´¿½µ Ô«²¹þ ¾»²»º·¬- «²¼»® Ì·¬´» ìô Ð¿®¬ Þô ±º ¬¸» Ú»¼»®¿´ Ý±¿´ Ó·²» Ø»¿´¬¸ ¿²¼ Í¿º»¬§ ß½¬ ±º ïçêçò øíð ËòÍòÝò
                                                   çîí÷
                                                   ß´´ ½´¿·³- º·´»¼ ¾§ ·²-«®»¼ ©±®µ»®- º±® ¼·-¿¾·´·¬§ ·²-«®¿²½» ¾»²»º·¬- «²¼»® Ì·¬´» î ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ô ¿- ¿³»²¼»¼å °´«-
        èêí                       Ü×ÉÝ             ¿´´ ½´¿·³- º·´»¼ º±® ½¸·´¼ù- ·²-«®¿²½» ¾»²»º·¬- ¾¿-»¼ ±² ¼·-¿¾·´·¬§ò øìî ËòÍòÝò ìðë ø¹÷÷

        èêí                       Ü×ÉÉ             ß´´ ½´¿·³- º·´»¼ º±® ©·¼±©- ±® ©·¼±©»®- ·²-«®¿²½» ¾»²»º·¬- ¾¿-»¼ ±² ¼·-¿¾·´·¬§ «²¼»® Ì·¬´» î ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ô ¿-
                                                   ¿³»²¼»¼ò øìî ËòÍòÝò ìðë ø¹÷÷


        èêì                       ÍÍ×Ü             ß´´ ½´¿·³- º±® -«°°´»³»²¬¿´ -»½«®·¬§ ·²½±³» °¿§³»²¬- ¾¿-»¼ «°±² ¼·-¿¾·´·¬§ º·´»¼ «²¼»® Ì·¬´» ïê ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ô ¿-
                                                   ¿³»²¼»¼ò

        èêë                       ÎÍ×              ß´´ ½´¿·³- º±® ®»¬·®»³»²¬ ø±´¼ ¿¹»÷ ¿²¼ -«®ª·ª±®- ¾»²»º·¬- «²¼»® Ì·¬´» î ±º ¬¸» Í±½·¿´ Í»½«®·¬§ ß½¬ô ¿- ¿³»²¼»¼ò
                                                   øìî ËòÍòÝò ìðë ø¹÷÷




ÝÊóéï øïðñîð÷                                                                  Ý×Ê×Ô ÝÑÊÛÎ ÍØÛÛÌ                                                                   Ð¿¹» í ±º í
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                       ATTACHMENT TO CIVIL COVER SHEET

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